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                     Hearing Date: August 4, 2021, at 9:30 AM (Atlantic Standard Time)
                  Response Deadline: July 19, 2021, at 4:00 PM (Atlantic Standard Time)
      PLEASE CAREFULLY REVIEW THIS OBJECTION AND THE ATTACHMENTS HERETO
          TO DETERMINE WHETHER THE OBJECTION AFFECTS YOUR CLAIM(S).


                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF PUERTO RICO

  In re:                                                           PROMESA
                                                                   Title III
  THE FINANCIAL OVERSIGHT AND
  MANAGEMENT BOARD FOR PUERTO RICO,                                No. 17 BK 3283-LTS
            as representative of                                   (Jointly Administered)
  THE COMMONWEALTH OF PUERTO RICO, et
  al.,                                                             This filing relates to the
                                                                   Commonwealth, HTA and ERS.
                                      Debtors. 1

               THREE HUNDRED FIFTY-FIRST OMNIBUS OBJECTION
      (NON-SUBSTANTIVE) OF THE COMMONWEALTH OF PUERTO RICO, PUERTO
       RICO HIGHWAYS AND TRANSPORTATION AUTHORITY, AND EMPLOYEES
      RETIREMENT SYSTEM OF THE GOVERNMENT OF THE COMMONWEALTH OF
            PUERTO RICO TO PARTIAL DUPLICATE LITIGATION CLAIMS




  1
      The Debtors in these Title III Cases, along with each Debtor’s respective Title III case number
      and the last four (4) digits of each Debtor’s federal tax identification number, as applicable, are
      the (i) Commonwealth of Puerto Rico (the “Commonwealth”) (Bankruptcy Case No. 17 BK
      3283-LTS) (Last Four Digits of Federal Tax ID: 3481); (ii) Puerto Rico Sales Tax Financing
      Corporation (“COFINA”) (Bankruptcy Case No. 17 BK 3284-LTS) (Last Four Digits of Federal
      Tax ID: 8474); (iii) Puerto Rico Highways and Transportation Authority (“HTA”) (Bankruptcy
      Case No. 17 BK 3567-LTS) (Last Four Digits of Federal Tax ID: 3808); (iv) Employees
      Retirement System of the Government of the Commonwealth of Puerto Rico (“ERS”)
      (Bankruptcy Case No. 17 BK 3566-LTS) (Last Four Digits of Federal Tax ID: 9686); (v) Puerto
      Rico Electric Power Authority (“PREPA”) (Bankruptcy Case No. 17 BK 4780-LTS) (Last Four
      Digits of Federal Tax ID: 3747); and (vi) Puerto Rico Public Buildings Authority (“PBA”, and
      together with the Commonwealth, COFINA, HTA, ERS, and PREPA, the “Debtors”)
      (Bankruptcy Case No. 19-BK-5523-LTS) (Last Four Digits of Federal Tax ID: 3801) (Title III
      case numbers are listed as Bankruptcy Case numbers due to software limitations).
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  To the Honorable United States District Court Judge Laura Taylor Swain:

            The Commonwealth of Puerto Rico (the “Commonwealth”), the Puerto Rico Highways

  and Transportation Authority (“HTA”), and the Employees Retirement System of the Government

  of the Commonwealth of Puerto Rico (“ERS,” and together with the Commonwealth and HTA,

  the “Debtors”), by and through the Financial Oversight and Management Board for Puerto Rico

  (the “Oversight Board”), as sole Title III representative of the Debtors pursuant to section 315(b)

  of the Puerto Rico Oversight, Management, and Economic Stability Act (“PROMESA”), 2 file this

  three hundred fifty-first omnibus objection (the “Three Hundred Fifty-First Omnibus Objection”)

  to the partially duplicative litigation-related proofs of claim listed on Exhibit A hereto, and in

  support of the Three Hundred Fifty-First Omnibus Objection, respectfully represents as follows:

                                          JURISDICTION

            1.    The United States District Court for the District of Puerto Rico has subject matter

  jurisdiction to consider this matter and the relief requested herein pursuant to PROMESA section

  306(a).

            2.    Venue is proper in this district pursuant to PROMESA section 307(a).

                                          BACKGROUND

  A.        The Bar Date Orders

            3.    On May 3, 2017, the Oversight Board issued a restructuring certification pursuant

  to PROMESA sections 104(j) and 206 and filed a voluntary petition for relief for the

  Commonwealth pursuant to PROMESA section 304(a), commencing a case under Title III thereof

  (the “Commonwealth Title III Case”).        On May 21, 2017, the Oversight Board issued a

  restructuring certification pursuant to PROMESA sections 104(j) and 206 and filed voluntary


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      PROMESA is codified at 48 U.S.C. §§ 2101-2241.


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  petitions for relief for HTA and ERS pursuant to PROMESA section 304(a), commencing cases

  under Title III thereof (respectively, the “HTA Title III Case” and the “ERS Title III Case,” and

  together with the Commonwealth Title III Case, the “Title III Cases”). On June 29, 2017, the

  Court entered an order granting the joint administration of the Title III Cases for procedural

  purposes only. ECF No. 537. 3

           4.     On January 16, 2018, the Debtors filed their Motion for Order (A) Establishing

  Deadlines and Procedures for Filing Proofs of Claim and (B) Approving Form and Manner of

  Notice Thereof [ECF No. 2255] 4 (the “Bar Date Motion”). By the Order (A) Establishing

  Deadlines and Procedures for Filing Proofs of Claims and (B) Approving Form and Manner of

  Notice Thereof [ECF No. 2521] (the “Initial Bar Date Order”), the Court granted the relief

  requested in the Bar Date Motion and established deadlines and procedures for filing proofs of

  claim in the Title III Cases. Upon the informative motion of certain creditors, and the support of

  the Debtors, the Court subsequently entered the Order (A) Extending Deadlines for Filing Proofs

  of Claim and (B) Approving Form and Manner of Notice Thereof [ECF No. 3160] (together with

  the Initial Bar Date Order, the “Bar Date Orders”) extending these deadlines to June 29, 2018 at

  4:00 pm (Atlantic Time).

  B.       Proofs of Claim, Omnibus Objection Procedures, and Claim Objections

           5.     To date, approximately 179,420 proofs of claim have been filed against the Debtors

  and logged by Prime Clerk, LLC. Such proofs of claim total approximately $43.59 trillion in

  asserted claims against the Debtors, in addition to unliquidated amounts asserted.




  3
      Unless otherwise stated herein, ECF citations refer to documents filed in Bankruptcy Case No.
      17 BK 3283-LTS.
  4
      All ECF citations refer to documents filed in Bankruptcy Case No. 17 BK 3283-LTS.


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         6.      Of the proofs of claim filed, approximately 116,160 have been filed in relation to,

  or reclassified to be asserted against, the Commonwealth. Approximately 53,022 proofs of claim

  have been filed in relation to, or reclassified to be asserted against, ERS. Over 2,260 proofs of

  claim have been filed in relation to, or reclassified to be asserted against, HTA. In accordance

  with the terms of the Bar Date Orders, many of these claims need not have been filed at all, or

  suffer from some other flaw, such as being subsequently amended, not putting forth a claim for

  which the Debtors are liable, being duplicative of other proofs of claim, or failing to provide

  information necessary for the Debtors to determine whether the claim is valid.

         7.      In order to efficiently resolve as many of the unnecessary proofs of claim as

  possible, on October 16, 2018, the Debtors filed with this Court their Motion for Entry of an Order

  (A) Approving Limited Omnibus Objection Procedures, (B) Waiving the Requirement of

  Bankruptcy Rule 3007(e)(6), and (C) Granting Related Relief [ECF No. 4052] (the “Omnibus

  Procedures Motion”). The Court granted the relief requested in the Omnibus Procedures Motion

  by order dated November 14, 2018. See Order (A) Approving Limited Omnibus Objection

  Procedures, (B) Waiving the Requirement of Bankruptcy Rule 3007(e)(6), and (C) Granting

  Related Relief [ECF No. 4230]; Omnibus Objection Procedures [ECF No. 4230-1] (collectively,

  the “Initial Omnibus Objection Procedures”). On November 29, 2018, the Court approved English

  and Spanish versions of the forms of notice for omnibus objections to be filed in accordance with

  the Initial Omnibus Objection Procedures. See Order Approving the English and Spanish Versions

  of the Form of Notice for Omnibus Objections [ECF No. 4381] (the “Notice Order”).

         8.      In the continued interest of resolving any unnecessary proofs of claim in an efficient

  manner, on May 23, 2019, the Debtors filed an amended procedures motion seeking, among other

  things, to allow the Debtors to file omnibus objections on substantive bases, to further expand the




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  number of claims that may be included on an objection, and to approve additional forms of notice.

  Notice of Hearing with Respect to an Order (A) Approving Amended Omnibus Objection

  Procedures, (B) Waiving Requirements of Bankruptcy Rule 3007(e), (C) Approving Additional

  Forms of Notice, and (D) Granting Related Relief [ECF No. 7091]. On June 14, 2019, the Court

  granted the requested relief, by the Order (A) Approving Amended Omnibus Objection Procedures,

  (B) Waiving Requirements of Bankruptcy Rule 3007(e), (C) Approving Additional Forms of Notice,

  and (D) Granting Related Relief [ECF No. 7440] (the “Amended Omnibus Objection

  Procedures”).

          9.         Pursuant to the Initial Omnibus Objection Procedures and Amended Omnibus

  Objection Procedures, to date the Court has held over 14 hearings related to over 140 omnibus

  objections filed by the Commonwealth, the Puerto Rico Sales Tax Financing Corporation

  (“COFINA”), HTA, the Puerto Rico Electric Power Authority (“PREPA”), and/or ERS. Based

  upon rulings and orders of the Court to date, approximately 101,019 claims asserting $43.59

  trillion in liability against the Commonwealth, COFINA, HTA, PREPA, and ERS have been

  disallowed and will be expunged from the claims registry in the Title III proceedings upon entry

  of final orders.

          10.        This Three Hundred Fifty-First Omnibus Objection is filed in accordance with the

  Court’s Amended Omnibus Objection Procedures.

                                OBJECTIONS TO PROOFS OF CLAIM

          11.        The Amended Omnibus Objection Procedures allow the Debtors to file an omnibus

  objection to multiple proofs of claim on any basis provided for in Federal Rule of Bankruptcy




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  Procedure 3007(d)(1)-(7), as well as on other substantive bases set forth in the Amended Omnibus

  Objection Procedures.

          12.     The Three Hundred Fifty-First Omnibus Objection seeks to partially disallow, in

  accordance with Federal Rule of Bankruptcy Procedure 3007(d)(1) and the Amended Omnibus

  Objection Procedures, claims that are substantively duplicative, in part, of other proofs of claim

  filed in the Title III Cases.

          13.     As set forth in Exhibit A hereto, the claims identified in the column titled “Claims

  to be Partially Disallowed” (each a “Claim to Be Partially Disallowed,” and collectively, the

  “Claims to Be Partially Disallowed”) assert, in part, the same liabilities as those asserted in: (1)

  the master claims filed on behalf of all plaintiffs in the litigation captioned Jeannete Abrams Diaz

  et al. v. Department of Transportation & Public Works, No. KAC2005-5021 (the “Abrams Diaz

  Master Claims”); (2) the master claims filed on behalf of all plaintiffs in the litigation captioned

  Delfina Lopez Rosario et al. v. Puerto Rico Police Department, No. T-01-10-372 (the “Lopez

  Rosario Master Claims”); (3) the master claim filed on behalf of all plaintiffs in the litigation

  captioned Acevedo Arocho et al. v. Puerto Rico Department of Treasury, No. KAC2005-5022 (the

  “Acevedo Arocho Master Claims”); (4) the master claim filed on behalf of all plaintiffs in the

  litigation captioned Madeline Acevedo Camacho et al. v. Puerto Rico Department of Family

  Affairs, No. 2016-05-1340 (the “Acevedo Camacho Master Claim”); (5) the master claim filed on

  behalf of all plaintiffs in the litigation captioned Francisco Beltrán Cintrón et al. v. Puerto Rico

  Department of Family Affairs, No. KAC2009-0809 (the “Beltrán Cintrón Master Claim”); (6) the

  master claim filed on behalf of all plaintiffs in the litigation captioned Abraham Gimenez et al. v.

  Puerto Rico Department of Transportation & Public Works, No. KAC2013-1019 (the “Abraham

  Gimenez Master Claim”); (7) the master claim filed on behalf of all plaintiffs in the litigation




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  captioned Juan Pérez Colón et al. v. Puerto Rico Department of Transportation & Public Works,

  No. KAC1990-0487 (the “Pérez Colón Master Claim”); (8) the master claim filed on behalf of all

  plaintiffs in the litigation captioned Frente Unido de Policías Organizados et al. v. Puerto Rico

  Police Department, No. KAC2007-4170 (the “FUPO Master Claim”); (9) the master claim filed

  on behalf of all plaintiffs in the litigation captioned Alfredo Maldonado Colón et al. v. Puerto Rico

  Department of Corrections & Rehabilitation, No. KAC96-1381 (the “Maldonado Colón Master

  Claim”); or (10) the master claim filed on behalf of all plaintiffs in the litigation captioned Rosa

  Lydia Velez v. Puerto Rico Department of Education, KPE1980-1738, who have agreed to be

  represented by José E. Torres Valentín (“Torres Valentín”) of Torres Valentín Estudio Legal, LLC

  (the “Velez Master Claim”), (collectively, the “Litigation Master Claims”).

         14.     The Abrams Diaz Master Claim identifies the “Abrams Diaz Plaintiff Group” as

  the creditor and assert over $40 million in liabilities associated with a state court complaint filed

  by employees of the Department of Transportation and Public Works (“DTOP”). Therein, the

  Abrams Diaz Plaintiff Group asserted that DTOP failed to pay plaintiffs appropriate wages as a

  result of the improper implementation of the Office of Public Service Personnel’s “General

  Memorandum No. 5-86” (the “Memorandum”). According to plaintiffs, that Memorandum set

  forth a method for adjusting salaries and benefits that violated the principle of equal pay for equal

  work. The attorney representing each plaintiff in the Abrams Diaz Plaintiff Group filed the

  Abrams Diaz Master Claim on behalf of all members of that group. That attorney also submitted

  a Verified Statement Pursuant to FRBP 2019 of the Abrams-Diaz Plaintiff Group [ECF No. 3505],

  providing the name, address, and amount of disclosable economic interests for each member of

  the plaintiff group.




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           15.   The Lopez Rosario Master Claim identifies the “Lopez Rosario Plaintiff Group” as

  the creditor and assert over $20 million in liabilities arising from a complaint filed by employees

  of the Puerto Rico Police Department in the Comisión Apelativa del Servicio Público (“CASP”).

  In the complaint, plaintiffs assert they are entitled to back pay illegally withheld by the Puerto Rico

  Police Department pursuant to the Memorandum, which, plaintiffs contend, was improperly

  implemented. As supporting documentation, the Lopez Rosario Master Claim attaches, inter alia,

  a chart identifying each individual plaintiff in the Lopez Rosario Plaintiff Group. The attorney

  representing each plaintiff in the Lopez Rosario Plaintiff Group filed the Lopez Rosario Master

  Claim on behalf of all members of that group. That attorney also submitted a Verified Statement

  Pursuant to FRBP 2019 of the Lopez-Rosario Plaintiff Group [ECF No. 3404], providing the

  name, address, and amount of disclosable economic interests for each member of the plaintiff

  group.

           16.   The Acevedo Arocho Master Claims assert liabilities associated with a state court

  complaint brought by employees of the Department of Treasury (“Hacienda”), alleging Hacienda

  failed to pay plaintiffs appropriate wages as a result of the Memorandum. The Acevedo Arocho

  Master Claims each assert over $20 million in liabilities associated with alleged back pay and

  allegedly unpaid pension contributions, list the creditor as the “Acevedo Arocho Plaintiff Group,”

  and were filed by the attorney representing all plaintiffs in the Acevedo Arocho Plaintiff Group.

  The state court complaint and a chart identifying each individual plaintiff in the Acevedo Arocho

  Plaintiff Group are included as supporting documentation to the Acevedo Arocho Master Claims.

  Further, the attorney representing all plaintiffs submitted a Verified Statement Pursuant to FRBP

  2019 of the Acevedo-Arocho Plaintiff Group [ECF No. 3402], providing the name, address, and

  amount of disclosable economic interests for each member of the plaintiff group.




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           17.   The Acevedo Camacho Master Claims assert liabilities associated with a complaint

  filed in the Puerto Rico Court of First Instance by employees of the Puerto Rico Department of the

  Family (the “Family Department”), alleging employees were entitled to back pay due to the Family

  Department’s illegal implementation of the Office of Public Service Personnel’s “General

  Memorandum No. 5-86.” The Acevedo Camacho Master Claims were filed on behalf of the

  “Acevedo Camacho Plaintiffs Group,” assert approximately $50 million in liabilities associated

  with alleged back pay and allegedly unpaid pension contributions, and were filed by the attorney

  representing all plaintiffs in the litigation. The Acevedo Camacho Master Claims include, among

  other things, a chart identifying each plaintiff in the Acevedo Camacho Plaintiffs Group. The

  attorney representing the Acevedo Camacho Plaintiffs Group also submitted a Verified Statement

  Pursuant to FRBP 2019 of the Acevedo-Camacho Plaintiff Group [ECF No. 3406], providing the

  name, address, and amount of disclosable economic interests for each member of the plaintiff

  group.

           18.   The Beltrán Cintrón Master Claims assert liabilities associated with a complaint

  filed in the Puerto Rico Court of First Instance by employees of the Department of the Family (the

  “Family Department”), alleging that the Family Department failed to pay plaintiffs appropriate

  wages as a result of the improper implementation of the Memorandum. The Beltrán Cintrón

  Master Claims assert approximately $105 million in liabilities associated with alleged back pay

  and allegedly unpaid pension contributions, name the creditor as the “Beltrán Cintrón Plaintiff

  Group,” and were filed by the attorney representing all plaintiffs in the litigation. As supporting

  documentation, the Beltrán Cintrón Master Claims attach a chart identifying each individual

  plaintiff in the Beltrán Cintrón Plaintiff Group. Further, the attorney representing all plaintiffs

  submitted a Verified Statement Pursuant to FRBP 2019 of the Beltrán-Cintrón Plaintiff Group




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  [ECF No. 3403], providing the name, address, and amount of disclosable economic interests for

  each member of the plaintiff group.

         19.     The Abraham Giménez Master Claims assert liabilities associated with a complaint

  filed in the Puerto Rico Court of First Instance by DTOP employees, asserting the DTOP failed to

  pay appropriate wages pursuant to the Memorandum. The Abraham Giménez Master Claims

  identify the creditors as the “Abraham Giménez Plaintiff Group,” and assert approximately $35

  million in liabilities associated with alleged back pay and allegedly unpaid pension contributions.

  The attorney representing all plaintiffs in the litigation filed the Abraham Giménez Master Claims

  on behalf of all members of the Abraham Giménez Plaintiff Group. That attorney also submitted

  a Verified Statement Pursuant to FRBP 2019 of the Abraham-Giménez Plaintiff Group [ECF No.

  3401], providing the name, address, and amount of disclosable economic interests for each

  member of the plaintiff group.

         20.     The Pérez Colón Master Claim asserts liabilities associated with a complaint filed

  in the Puerto Rico Court of First Instance by DTOP employees, asserting DTOP failed to pay

  appropriate wages pursuant to the Memorandum. The Pérez Colón Master Claim identifies the

  creditor as the “Pérez Colón Plaintiff Group,” and asserts approximately $3 million in liabilities

  associated with alleged back pay. The attorney who represents all plaintiffs in the litigation filed

  the Pérez Colón Master Claims on behalf of all members of the Pérez Colón Plaintiff Group. That

  attorney also submitted a Verified Statement Pursuant to FRBP 2019 of the Pérez-Colón Plaintiff

  Group [ECF No. 3506], providing the name, address, and amount of disclosable economic interests

  for each member of the plaintiff group.

         21.     The FUPO Master Claim asserts liabilities associated with a complaint filed in the

  Puerto Rico Court of First Instance by members of FUPO and the Concilio Nacional de Policías




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  (“CONAPOL”), alleging the Superintendent of the Puerto Rico Police Department failed to

  implement Act No. 227 of 2004, which provided for salary increases for Police Department

  employees. The FUPO Master Claim was filed by the Concilio Nacional de Policías, Inc. on behalf

  of all plaintiffs in the litigation, asserts $280 million in liabilities associated with unpaid salary

  increases, and attaches a chart identifying each plaintiff in the litigation.

          22.     The Maldonado Colón Master Claim asserts liabilities associated with a complaint

  filed in the Puerto Rico Court of First Instance by employees of the Puerto Rico Department of

  Corrections and Rehabilitation (“DCR”). Therein, plaintiffs contend they are owed unpaid salary

  increases provided for in, among other things, various DCR administrative orders. On September

  28, 2002, judgment was entered in favor of plaintiffs. The Maldonado Colón Master Claim asserts

  approximately $18 million associated with outstanding payments due in accordance with the

  court’s judgment, was filed on behalf of all plaintiffs in the litigation, and attaches a chart

  identifying each individual plaintiff in the litigation.

          23.     The Velez Master Claim asserts liabilities arising from a complaint filed against the

  DOE by parents of minors who participated in the DOE’s Special Education Program. In the

  complaint, plaintiffs sought to compel the DOE to comply with certain federal and state obligations

  relating to special education programs, as well as certain damages related thereto. The Velez

  Master Claim was filed by Mr. Torres Valentín on behalf of all plaintiffs represented by Mr. Torres

  Valentín, and asserts $150,000 in liabilities for each plaintiff.

          24.     Each of the Claims to Be Partially Disallowed was filed by one of the individual

  plaintiffs in the litigations asserted by the Litigation Master Claims, as identified in the supporting

  documentation provided with the Litigation Master Claims or the verified statement filed by the

  attorney representing all claimants in the litigation. Each of the Claims to Be Partially Disallowed




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  also purports to assert additional liabilities not associated with the Litigation Master Claims, such

  as additional bases for back pay that are not subsumed within the Litigation Master Claims.

         25.     Accordingly, the Claims to Be Partially Disallowed are partially duplicative of the

  Master Litigation Claims. Any failure to partially disallow the Claims to Be Partially Disallowed

  will result in the applicable claimants potentially receiving an unwarranted double recovery to the

  detriment of other stakeholders in these Title III Cases. The holders of the Claims to Be Partially

  Disallowed will not be prejudiced by the partial disallowance of their claims, because the liabilities

  associated with each of the Claims to Be Partially Disallowed are subsumed within the liabilities

  asserted by the relevant Litigation Master Claim(s), as set forth in Exhibit A hereto. In addition,

  the holders of the Claims to Be Partially Disallowed will also not be prejudiced as to the remaining

  amounts allegedly owed which are not subject to this objection, as they will retain a Remaining

  Claim against the Debtors in respect of such amounts. Because this Three Hundred Fifty-First

  Omnibus Objection to the Claims to Be Partially Disallowed does not constitute an objection to

  the Litigation Master Claims, the Debtors reserves their rights to object to the Litigation Master

  Claims on any other grounds whatsoever.

         26.     In support of the foregoing, the Debtors rely on the Declaration of Jay Herriman

  in Support of the Three Hundred Fifty-First Omnibus Objection (Non-Substantive) of the

  Commonwealth of Puerto Rico to Partial Duplicate Litigation Claims, dated June 18, 2021,

  attached hereto as Exhibit B.

                                               NOTICE

         27.     In accordance with the Omnibus Objection Procedures and the Court’s Notice

  Order, the Debtors have provided notice of this Three Hundred Fifty-First Omnibus Objection to

  (a) the individual creditors subject to this Three Hundred Fifty-First Omnibus Objection, (b) the

  U.S. Trustee, and (c) the Master Service List (as defined by the Fourteenth Amended Case


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  Management Procedures [ECF No. 15894-1]), which is available on the Debtors’ case website at

  https://cases.primeclerk.com/puertorico. A copy of the notice for this Three Hundred Fifty-First

  Omnibus Objection is attached hereto as Exhibit C. Spanish translations of the Three Hundred

  Fifty-First Omnibus Objection and all of the exhibits attached hereto are being filed with this

  objection and will be served on the parties. The Debtors submit that, in light of the nature of the

  relief requested, no other or further notice need be given.

                                       NO PRIOR REQUEST

         28.     No prior request for the relief sought in this Three Hundred Fifty-First Omnibus

  Objection has been made to this or any other court.


                             [Remainder of page intentionally left blank.]




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          WHEREFORE the Debtors respectfully request entry of an order, substantially in the form

of the Proposed Order attached hereto as Exhibit D, (1) granting the relief requested herein, and (2)

granting the Debtors such other and further relief as is just.


  Dated: June 18, 2021                                           Respectfully submitted,
         San Juan, Puerto Rico

                                                                 /s/ Hermann D. Bauer
                                                                 Hermann D. Bauer
                                                                 USDC No. 215205
                                                                 Carla García-Benítez
                                                                 USDC No. 203708
                                                                 Gabriel A. Miranda
                                                                 USDC No. 306704
                                                                 O’NEILL & BORGES LLC
                                                                 250 Muñoz Rivera Ave., Suite 800
                                                                 San Juan, PR 00918-1813
                                                                 Tel: (787) 764-8181
                                                                 Fax: (787) 753-8944

                                                                 /s/ Martin J. Bienenstock
                                                                 Martin J. Bienenstock (pro hac vice)
                                                                 Brian S. Rosen (pro hac vice)
                                                                 PROSKAUER ROSE LLP
                                                                 Eleven Times Square
                                                                 New York, NY 10036
                                                                 Tel: (212) 969-3000
                                                                 Fax: (212) 969-2900

                                                                 Attorneys for the Financial
                                                                 Oversight and Management Board
                                                                 for Puerto Rico, as representative for
                                                                 the Commonwealth of Puerto Rico,
                                                                 the Puerto Rico Highways and
                                                                 Transportation Authority, and the
                                                                 Employees Retirement System for the
                                                                 Government of the Commonwealth of
                                                                 Puerto Rico




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                             Fecha de la vista: 4 de agosto de 2021, a las 9:30 a.m. (AST)
                  Fecha límite para responder: 19 de julio de 2021, a las 4:00 p.m. (AST)
           REVISE DETENIDAMENTE LA PRESENTE OBJECIÓN Y LOS DOCUMENTOS
              ADJUNTOS PARA DETERMINAR SI LA OBJECIÓN AFECTA A SU(S)
                                RECLAMACIÓN(ES).


                       TRIBUNAL DE DISTRITO DE LOS ESTADOS UNIDOS
                           PARA EL DISTRITO DE PUERTO RICO

  In re:                                                           PROMESA
                                                                   Título III
  JUNTA DE SUPERVISIÓN Y ADMINISTRACIÓN
  FINANCIERA PARA PUERTO RICO,                                     Núm. 17 BK 3283-LTS
            como representante del                                 (Administrado Conjuntamente)
  ESTADO LIBRE ASOCIADO DE PUERTO RICO et
  al.,                                                             La presente radicación guarda
                                                                   relación con el ELA, la ACT y el
                                      Deudores. 1                  SRE.


         TRICENTÉSIMA QUINCUAGÉSIMA PRIMERA OBJECIÓN GLOBAL
    (NO SUSTANTIVA) DEL ESTADO LIBRE ASOCIADO DE PUERTO RICO, DE LA
   AUTORIDAD DE CARRETERAS Y TRANSPORTACIÓN DE PUERTO RICO Y DEL
  SISTEMA DE RETIRO DE LOS EMPLEADOS DEL GOBIERNO DEL ESTADO LIBRE
        ASOCIADO DE PUERTO RICO A RECLAMACIONES PARCIALMENTE
                        DUPLICADAS POR LITIGIOS

  1
      Los Deudores en los presentes Casos de Título III, junto con el respectivo número de caso de
      Título III y los últimos cuatro (4) dígitos del número de identificación contributiva federal de
      cada Deudor, en su caso, son i) el Estado Libre Asociado de Puerto Rico (el "ELA") (Caso de
      Quiebra Núm. 17 BK 3283-LTS) (Últimos cuatro dígitos de la identificación contributiva
      federal: 3481); ii) la Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA")
      (Caso de Quiebra Núm. 17 BK 3284-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 8474); iii) la Autoridad de Carreteras y Transportación de Puerto Rico (la
      "ACT") (Caso de Quiebra Núm. 17 BK 3567-LTS) (Últimos cuatro dígitos de la identificación
      contributiva federal: 3808); iv) el Sistema de Retiro de los Empleados del Gobierno del Estado
      Libre Asociado de Puerto Rico (el "SRE") (Caso de Quiebra Núm. 17 BK 3566-LTS) (Últimos
      cuatro dígitos de la identificación contributiva federal: 9686); v) la Autoridad de Energía
      Eléctrica de Puerto Rico (la "AEE") (Caso de Quiebra Núm. 17 BK 4780-LTS) (Últimos cuatro
      dígitos de la identificación contributiva federal: 3747); y vi) la Autoridad de Edificios Públicos
      de Puerto Rico (la "AEP", y junto con el ELA, COFINA, la ACT, el SRE y la AEE, los
      "Deudores") (Caso de Quiebra Núm. 19-BK-5523-LTS) (Últimos cuatro dígitos de la
      identificación contributiva federal: 3801) (Los números de los casos de Título III están
      enumerados como números de Casos de Quiebra debido a ciertas limitaciones en el programa
      informático).
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  A la atención de su señoría, Juez del Tribunal de Distrito de los Estados Unidos, Laura Taylor

  Swain:

           El Estado Libre Asociado de Puerto Rico (el "ELA"), la Autoridad de Carreteras y

  Transportación de Puerto Rico (la "ACT") y el Sistema de Retiro de los Empleados del Gobierno

  del Estado Libre Asociado de Puerto Rico (el "SRE", y junto con el ELA y la ACT, los

  "Deudores"), a través de la Junta de Supervisión y Administración Financiera para Puerto Rico (la

  "Junta de Supervisión"), como el único representante de Título III de los Deudores conforme a la

  sección 315(b) de la Ley para la Supervisión, Administración y Estabilidad Económica de Puerto

  Rico ("PROMESA"), 2 radican esta tricentésima quincuagésima primera objeción global (la

  "Tricentésima quincuagésima primera objeción global") a las evidencias de reclamaciones

  parcialmente duplicadas relacionadas con litigios que aparecen en el Anexo A del presente

  documento, y en apoyo de la Tricentésima quincuagésima primera objeción global manifiesta

  respetuosamente lo siguiente:

                                           JURISDICCIÓN

           1.     El Tribunal de Distrito de los Estados Unidos para el Distrito de Puerto Rico tiene

  jurisdicción sobre la materia para atender la presente causa y el remedio en ella solicitado conforme

  a la sección 306(a) de PROMESA.

           2.     La sede judicial de este distrito es la competente conforme a la sección 307(a) de

  PROMESA.

                                         ANTECEDENTES

  A.       Órdenes de Fecha Límite




  2
      PROMESA ha sido codificada en el Título 48 U.S.C., §§ 2101-2241.


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           3.     El 3 de mayo de 2017, la Junta de Supervisión emitió una certificación de

  reestructuración conforme a las secciones 104(j) y 206 de PROMESA, y radicó una petición

  voluntaria de remedio para el ELA conforme a la sección 304(a) de PROMESA, iniciando un caso

  conforme al Título III de dicho cuerpo legal (el "Caso de Título III del ELA"). El 21 de mayo de

  2017, la Junta de Supervisión emitió una certificación de reestructuración conforme a las secciones

  104(j) y 206 de PROMESA, y radicó peticiones voluntarias de remedio para la ACT y el SRE

  conforme a la sección 304(a) de PROMESA, iniciando casos conforme al Título III de dicho

  cuerpo legal (respectivamente, el "Caso de Título III de la ACT" y el "Caso de Título III del SRE",

  y junto con el Caso de Título III del ELA, los "Casos de Título III"). El 29 de junio de 2017, el

  Tribunal dictó una orden por la que concedió la administración conjunta de los Casos de Título III

  únicamente con fines procesales. ECF núm. 537. 3

           4.     El 16 de enero de 2018, los Deudores radicaron su Moción de una orden que A) fije

  fechas límite y procedimientos para radicar evidencias de reclamaciones y B) apruebe la forma y

  la manera de su notificación [ECF núm. 2255] 4 (la "Moción de Fecha Límite"). Por la Orden que

  A) fija fechas límite y procedimientos para radicar evidencias de reclamaciones y B) aprueba la

  forma y la manera de su notificación [ECF núm. 2521] (la "Orden Inicial de Fecha Límite"), el

  Tribunal concedió el remedio solicitado en la Moción de Fecha Límite y fijó fechas límite y

  procedimientos para radicar evidencias de reclamaciones en el marco de los Casos de Título III.

  Luego de la moción informativa de determinados acreedores, y del apoyo de los Deudores, el

  Tribunal dictó a continuación la Orden que A) extendió fechas límite para radicar evidencias de



  3
       Salvo disposición en contrario contenida en el presente documento, las citas ECF harán
      referencia a documentos radicados en el marco del Caso de Quiebra Núm. 17 BK 3283-LTS.
  4
      Todas las citas ECF harán referencia a documentos radicados en el marco del Caso de Quiebra
      Núm. 17 BK 3283-LTS.


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  reclamaciones y B) aprobó la forma y la manera de su notificación [ECF núm. 3160]

  (conjuntamente con la Orden Inicial de Fecha Límite, las "Órdenes de Fecha Límite"), extendiendo

  dichas fechas límite hasta el 29 de junio de 2018, a las 04:00 p.m. (AST).

  B.     Evidencias de reclamaciones, procedimientos relativos a objeciones globales y

  objeciones a reclamaciones

         5.      Hasta la fecha, se han radicado aproximadamente 179,420 evidencias de

  reclamaciones contra los Deudores, que han sido registradas por Prime Clerk, LLC. Dichas

  evidencias de reclamaciones ascienden a un total aproximado de $43.59 billones en reclamaciones

  radicadas contra los Deudores, además de los montos no liquidados reclamados.

         6.      De las evidencias de reclamaciones radicadas, aproximadamente 116,160 han sido

  radicadas en relación con el ELA, o reclasificadas como radicadas contra el ELA.

  Aproximadamente 53,022 evidencias de reclamaciones han sido radicadas en relación con el SRE,

  o reclasificadas como radicadas contra el SRE. Más de 2,260 evidencias de reclamaciones han sido

  radicadas en relación con la ACT, o reclasificadas como radicadas contra la ACT. De conformidad

  con las condiciones de las Órdenes de Fecha Límite, muchas de estas reclamaciones no tenían que

  haber sido radicadas en absoluto o adolecen de otro tipo de vicios; por ejemplo, haber sido

  enmendadas posteriormente, no alegar una reclamación por la que los Deudores sean responsables,

  estar duplicadas en relación con otras evidencias de reclamaciones o no aportar información

  necesaria para que los Deudores determinen si la reclamación es válida.

         7.      Para resolver eficazmente el mayor número posible de las evidencias de

  reclamaciones innecesarias, el 16 de octubre de 2018 los Deudores radicaron ante este Tribunal su

  Moción para que se dicte una orden que A) apruebe procedimientos limitados relativos a

  objeciones globales, B) exima el requisito contenido en la regla 3007(e)(6) de las Reglas de




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  Quiebras, y C) conceda el remedio relacionado [ECF núm. 4052] (la "Moción de Procedimientos

  Globales"). El Tribunal concedió el remedio solicitado en la Moción de Procedimientos Globales

  mediante la orden de fecha 14 de noviembre de 2018. Véase la Orden que A) aprueba

  procedimientos limitados relativos a objeciones globales, B) exime el requisito contenido en la

  regla 3007(e)(6) de las Reglas de Quiebras, y C) concede el remedio relacionado [ECF núm.

  4230]; Procedimientos relativos a Objeciones Globales [ECF núm. 4230-1] (conjuntamente, los

  "Procedimientos Iniciales relativos a Objeciones Globales"). El 29 de noviembre de 2018, el

  Tribunal aprobó las versiones en inglés y en español de los formularios de notificación relativos a

  las objeciones globales a efectos de radicarlas de conformidad con los Procedimientos Iniciales

  relativos a Objeciones Globales. Véase Orden por la que se aprobaron las versiones en inglés y

  en español de los formularios de notificación relativos a objeciones globales [ECF núm. 4381] (la

  "Orden de Notificación").

         8.      En aras del interés constante de resolver eficazmente cualesquiera evidencias de

  reclamaciones innecesarias, el 23 de mayo de 2019 los Deudores radicaron una moción relativa a

  procedimientos enmendados en la que solicitaron, entre otras cosas, que se les permitiera radicar

  objeciones globales sobre unas bases sustantivas, aumentar el número de reclamaciones que

  pudieran incluirse en una objeción y aprobar formas de notificación adicionales. Notificación de

  vista en relación con una Orden que A) apruebe Procedimientos Enmendados relativos a

  Objeciones Globales, B) exima los requisitos contenidos en la regla 3007(e) de las Reglas de

  Quiebras, C) apruebe formas de notificación adicionales y D) conceda el remedio relacionado

  [ECF núm. 7091]. El 14 de junio de 2019, el Tribunal concedió el remedio solicitado por medio

  de la Orden que A) aprueba Procedimientos Enmendados relativos a Objeciones Globales, B)

  exime los requisitos contenidos en la regla 3007(e) de las Reglas de Quiebras, C) aprueba formas




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  de notificación adicionales y D) concede el remedio relacionado [ECF núm. 7440] (los

  "Procedimientos Enmendados relativos a Objeciones Globales").

         9.      Conforme a los Procedimientos Iniciales relativos a Objeciones Globales y los

  Procedimientos Enmendados relativos a Objeciones Globales, el Tribunal ha celebrado hasta la

  fecha más de 14 vistas vinculadas con más de 140 objeciones globales radicadas por el ELA, la

  Corporación del Fondo de Interés Apremiante de Puerto Rico ("COFINA"), la ACT, la Autoridad

  de Energía Eléctrica de Puerto Rico (la "AEE") y/o el SRE. Sobre la base de las resoluciones y

  órdenes del Tribunal dictadas hasta la fecha, aproximadamente 101,019 reclamaciones que

  reivindicaban $43.59 billones en responsabilidad contra el ELA, COFINA, la ACT, la AEE y el

  SRE fueron rechazadas y serán retiradas del registro de reclamaciones en el marco de los

  procedimientos radicados conforme al Título III una vez dictadas las órdenes finales.

         10.     Esta Tricentésima quincuagésima primera objeción global se radica de

  conformidad con los Procedimientos Enmendados relativos a Objeciones Globales del Tribunal.

                   OBJECIONES A EVIDENCIAS DE RECLAMACIONES

         11.     Los Procedimientos Enmendados relativos a Objeciones Globales permiten a los

  Deudores radicar una objeción global a varias evidencias de reclamaciones sobre cualquiera de las

  bases recogidas en las reglas 3007(d)(1) a (7) de las Reglas Federales del Procedimiento de

  Quiebra (Federal Rule of Bankruptcy Procedure), así como sobre otras bases sustantivas

  establecidas en los Procedimientos Enmendados relativos a Objeciones Globales.

         12.     La Tricentésima quincuagésima primera objeción global pretende que se rechacen

  parcialmente, de conformidad con la regla 3007(d)(1) de las Reglas Federales del Procedimiento

  de Quiebra y los Procedimientos Enmendados relativos a Objeciones Globales, reclamaciones que

  estén sustancialmente duplicadas, en parte, con respecto a otras evidencias de reclamaciones

  radicadas en el marco de los Casos de Título III.


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         13.    Como se establece en el Anexo A del presente documento, las reclamaciones

  identificadas en la columna titulada "Reclamaciones que han de ser rechazadas parcialmente"

  (cada una denominada una "Reclamación que ha de ser rechazada parcialmente" y conjuntamente,

  las "Reclamaciones que han de ser rechazadas parcialmente") alegan, en parte, las mismas

  responsabilidades que aquellas que se alegan en: 1) las reclamaciones principales radicadas en

  nombre de todos los demandantes en el litigio con epígrafe Jeannete Abrams Diaz et al. c. el

  Departamento de Transportación y Obras Públicas, núm. KAC2005-5021 (las "Reclamaciones

  Principales Abrams Diaz"); 2) las reclamaciones principales radicadas en nombre de todos los

  demandantes en el litigio con epígrafe Delfina López Rosario et al. c. el Departamento de Policía

  de Puerto Rico, núm. T-01-10-372 (las "Reclamaciones Principales López Rosario"); 3) la

  reclamación principal radicada en nombre de todos los demandantes en el litigio con epígrafe

  Acevedo Arocho et al. c. el Departamento de Hacienda de Puerto Rico, núm. KAC2005-5022 (las

  "Reclamaciones Principales Acevedo Arocho"); 4) la reclamación principal radicada en nombre

  de todos los demandantes en el litigio con epígrafe Madeline Acevedo Camacho et al. c. el

  Departamento de la Familia de Puerto Rico, núm. 2016-05-1340 (la "Reclamación Principal

  Acevedo Camacho"); 5) la reclamación principal radicada en nombre de todos los demandantes

  en el litigio con epígrafe Francisco Beltrán Cintrón et al. c. el Departamento de la Familia de

  Puerto Rico, núm. KAC2009-0809 (la "Reclamación Principal Beltrán Cintrón"); 6) la

  reclamación principal radicada en nombre de todos los demandantes en el litigio con epígrafe

  Abraham Giménez et al. c. el Departamento de Transportación y Obras Públicas de Puerto Rico,

  núm. KAC2013-1019 (la "Reclamación Principal Abraham Giménez"); 7) la reclamación principal

  radicada en nombre de todos los demandantes en el litigio con epígrafe Juan Pérez Colón et al. c.

  el Departamento de Transportación y Obras Públicas de Puerto Rico, núm. KAC1990-0487 (la




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  "Reclamación Principal Pérez Colón"); 8) la reclamación principal radicada en nombre de todos

  los demandantes en el litigio con epígrafe Frente Unido de Policías Organizados et al. c. el

  Departamento de Policía de Puerto Rico, núm. KAC2007-4170 (la "Reclamación Principal

  FUPO"); 9) la reclamación principal radicada en nombre de todos los demandantes en el litigio

  con epígrafe Alfredo Maldonado Colón et al. c. el Departamento de Corrección y Rehabilitación

  de Puerto Rico, núm. KAC96-1381 (la "Reclamación Principal Maldonado Colón"); o 10) la

  reclamación principal radicada en nombre de todos los demandantes en el litigio con epígrafe Rosa

  Lydia Velez c. el Departamento de Educación de Puerto Rico, KPE1980-1738, quienes han

  aceptado ser representados por José E. Torres Valentín ("Torres Valentín") de Torres Valentín

  Estudio Legal, LLC (la "Reclamación Principal Velez") (conjuntamente, las "Reclamaciones

  Principales de Litigios").

         14.     La Reclamación Principal Abrams Diaz identifica al "Grupo de Demandantes

  Abrams Diaz" como acreedor y alega responsabilidades por un monto de más de $40 millones

  vinculadas con un litigio ante el tribunal del estado radicado por empleados del Departamento de

  Transportación y Obras Públicas (el "DTOP"). En dicha reclamación, el Grupo de Demandantes

  Abraham Diaz alega que el DTOP no pagó a los demandantes los salarios correspondientes como

  resultado de la implementación indebida del "Memorándum General núm. 5-86" de la Oficina de

  Personal de Servicios Públicos" (el "Memorándum"). Según los demandantes, dicho Memorándum

  estipuló un método para ajustar salarios y beneficios que estaba en violación del principio de

  misma paga por igual trabajo. El abogado que representa a cada uno de los demandantes del Grupo

  de Demandantes Abrams Diaz radicó la Reclamación Principal Abrams Diaz en nombre de todos

  los miembros de ese grupo. El abogado también presentó una Declaración verificada conforme a

  las RFPQ de 2019 del Grupo de Demandantes Abrams Diaz [ECF núm. 3505] en la que




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  proporcionó el nombre, la dirección y el monto del interés económico divulgable de cada miembro

  del grupo de demandantes.

         15.    La Reclamación Principal López Rosario identifica como acreedor al "Grupo de

  Demandantes López Rosario" y alega responsabilidades por un monto de más de $20 millones que

  surgen de una demanda radicada por empleados del Departamento de Policía de Puerto Rico

  radicada ante la Comisión Apelativa del Servicio Público (la "CASP"). En la demanda, los

  demandantes alegan que tenían derecho a recibir pagos de salarios atrasados retenidos ilegalmente

  por el Departamento de Policía de Puerto Rico conforme al Memorándum que, según afirman los

  demandantes, fue implementado indebidamente. La Reclamación Principal López Rosario adjunta

  como documentación justificativa, entre otras cosas, un cuadro que identifica a cada demandante

  del Grupo de Demandantes López Rosario. El abogado que representa a cada uno de los

  demandantes del Grupo de Demandantes López Rosario radicó la Reclamación Principal López

  Rosario en nombre de todos los miembros de ese grupo. El abogado también presentó una

  Declaración verificada conforme a las RFPQ de 2019 del Grupo de Demandantes López Rosario

  [ECF núm. 3404] en la que proporcionó el nombre, la dirección y el monto del interés económico

  divulgable de cada miembro del grupo de demandantes.

         16.    Las Reclamaciones Principales Acevedo Arocho alegan responsabilidades

  asociadas con una demanda ante un tribunal del estado radicada por empleados del Departamento

  de Hacienda ("Hacienda"), donde se alega que Hacienda no pagó a los demandantes los salarios

  adecuados como consecuencia del Memorándum. Las Reclamaciones Principales Acevedo

  Arocho alegan responsabilidades por un monto de más de $20 millones vinculadas con el pago de

  supuestos salarios atrasados y aportaciones a pensiones supuestamente impagadas, nombran como

  acreedor al "Grupo de Demandantes Acevedo Arocho", y fueron radicadas por el abogado que




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  representa a todos los demandantes del Grupo de Demandantes Acevedo Arocho. La demanda ante

  el tribunal del estado y un cuadro que identifica a cada demandante del Grupo de Demandantes

  Acevedo Arocho se incluyen como documentación justificativa en las Reclamaciones Principales

  Acevedo Arocho. Además, el abogado que representa a todos los demandantes presentó una

  Declaración verificada conforme a las RFPQ de 2019 del Grupo de Demandantes Acevedo

  Arocho [ECF núm. 3402] en la que proporcionó el nombre, la dirección y el monto del interés

  económico divulgable de cada miembro del grupo de demandantes.

         17.     Las Reclamaciones Principales Acevedo Camacho alegan responsabilidades

  asociadas con una demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por los

  empleados del Departamento de la Familia de Puerto Rico (el "DF"), en la que se alega que los

  empleados tenían derecho a un pago de salarios atrasados debido a la implementación ilegal por

  parte del Departamento de la Familia del "Memorándum General núm. 5-86" de la Oficina de

  Personal de Servicios Públicos. Las Reclamaciones Principales Acevedo Camacho se radicaron en

  nombre del "Grupo de Demandantes Acevedo Camacho" y alegan aproximadamente $50 millones

  en concepto de responsabilidades asociadas con los supuestos salarios atrasados y aportaciones a

  pensiones supuestamente no pagadas. El abogado que representa a todos los demandantes en el

  litigio radicó las Reclamaciones Principales Acevedo Camacho. Las Reclamaciones Principales

  Acevedo Camacho incluyen, entre otras cosas, un cuadro que identifica a cada demandante del

  Grupo de Demandantes Acevedo Camacho. El abogado que representa al Grupo de Demandantes

  Acevedo Camacho también presentó una Declaración verificada conforme a las RFPQ de 2019

  del Grupo de Demandantes Acevedo Camacho [ECF núm. 3406] en la que proporcionó el nombre,

  la dirección y el monto del interés económico divulgable de cada miembro del grupo de

  demandantes.




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         18.    Las Reclamaciones Principales Beltrán Cintrón alegan responsabilidades asociadas

  con una demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por los empleados

  del Departamento de la Familia de Puerto Rico (el "DF"), donde se alega que el DF no pagó a los

  demandantes los salarios adecuados como consecuencia de la implementación indebida del

  Memorándum. Las Reclamaciones Principales Beltrán Cintrón alegan responsabilidades por un

  monto aproximado de $105 millones vinculadas con el supuesto pago de salarios atrasados y

  aportaciones a pensiones supuestamente impagadas, nombran como acreedor al "Grupo de

  Demandantes Beltrán Cintrón", y fueron radicadas por el abogado que representa a todos los

  demandantes en el litigio. Las Reclamaciones Principales Beltrán Cintrón adjuntan como

  documentación justificativa un cuadro que identifica a cada demandante del Grupo de

  Demandantes Beltrán Cintrón. Además, el abogado que representa a todos los demandantes

  presentó una Declaración verificada conforme a las RFPQ de 2019 del Grupo de Demandantes

  Beltrán Cintrón [ECF núm. 3403] en la que proporcionó el nombre, la dirección y el monto del

  interés económico divulgable de cada miembro del grupo de demandantes.

         19.    Las Reclamaciones Principales Abraham Giménez alegan responsabilidades

  asociadas con una demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por los

  empleados del DTOP, donde se alega que el DTOP no pagó los salarios adecuados conforme al

  Memorándum. Las Reclamaciones Principales Abraham Giménez identifican como acreedor al

  "Grupo de Demandantes Abraham Giménez" y alegan responsabilidades por un monto

  aproximado de $35 millones asociadas con el pago de supuestos salarios atrasados y aportaciones

  a pensiones supuestamente impagadas. El abogado que representa a todos los demandantes en el

  litigio radicó las Reclamaciones Principales Abraham Giménez en nombre de todos los miembros

  del Grupo de Demandantes Abraham Giménez. El abogado también presentó una Declaración




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  verificada conforme a las RFPQ de 2019 del Grupo de Demandantes Abraham Giménez [ECF

  núm. 3401] en la que proporcionó el nombre, la dirección y el monto del interés económico

  divulgable de cada miembro del grupo de demandantes.

         20.    La Reclamación Principal Pérez Colón alega responsabilidades asociadas con una

  demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por los empleados del

  DTOP, donde se alega que el DTOP no pagó los salarios adecuados conforme al Memorándum.

  La Reclamación Principal Pérez Colón identifica como acreedor al "Grupo de Demandantes Pérez

  Colón" y alega responsabilidades por un monto aproximado de $3 millones asociadas con el pago

  de supuestos salarios atrasados. El abogado que representa a todos los demandantes en el litigio

  radicó las Reclamaciones Principales Pérez Colón en nombre de todos los miembros del Grupo de

  Demandantes Pérez Colón. El abogado también presentó una Declaración verificada conforme a

  las RFPQ de 2019 del Grupo de Demandantes Pérez Colón [ECF núm. 3506] en la que

  proporcionó el nombre, la dirección y el monto del interés económico divulgable de cada miembro

  del grupo de demandantes.

         21.    La Reclamación Principal FUPO alega responsabilidades vinculadas con una

  demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por miembros de FUPO y

  el Concilio Nacional de Policías ("CONAPOL"), y alegó que el Superintendente del Departamento

  de Policía de Puerto Rico no implementó la Ley núm. 227 de 2004, que establece aumentos de

  salario para los empleados del Departamento de Policía. La Reclamación Principal FUPO, que fue

  radicada por el Concilio Nacional de Policías, Inc. en nombre de todos los demandantes en el

  litigio, alega responsabilidades por un monto de $280 millones asociadas con aumentos salariales

  no pagados y adjunta un cuadro donde se identifica a cada demandante del litigio.




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         22.     La Reclamación Principal Maldonado Colón alega responsabilidades asociadas con

  una demanda radicada ante el Tribunal de Primera Instancia de Puerto Rico por empleados del

  Departamento de Corrección y Rehabilitación (el "DCR") de Puerto Rico. En ella, los demandantes

  sostienen que se les adeudan aumentos salariales no pagados estipulados en, entre otros, varias

  órdenes administrativas del DCR. El 28 de septiembre de 2002, se dictó sentencia a favor de los

  demandantes. La Reclamación Principal Maldonado Colón, que alega responsabilidades por un

  monto aproximado de $18 millones asociadas con pagos pendientes adeudados conforme a la

  sentencia del tribunal, fue radicada en nombre de todos los demandantes en el litigio y adjunta un

  cuadro donde se identifica a cada uno de los demandantes en el litigio.

         23.     La Reclamación Principal Velez alega responsabilidades que surgen de una

  demanda radicada contra el DE por los padres de los menores que participaron en el Programa de

  Educación Especial del DE. En la reclamación, los demandantes buscan que el DE cumpla con

  determinadas obligaciones federales y estatales relacionadas con programas de educación especial,

  y reclaman unos daños y perjuicios vinculados con dichos programas. La Reclamación Principal

  Velez fue radicada por el Sr. Torres Valentín en nombre de todos los demandantes representados

  por el Sr. Torres Valentín, y alega responsabilidades por un monto de $150,000 por cada

  demandante.

         24.     Cada una de las Reclamaciones que han de ser rechazadas parcialmente fue

  radicada por uno de los demandantes individuales en los litigios planteados por las Reclamaciones

  Principales de Litigios, según se identifica en la documentación justificativa proporcionada con

  las Reclamaciones Principales de Litigios o en la declaración verificada radicada por el abogado

  que representa a todos los demandantes en el litigio. Cada una de las Reclamaciones que han de

  ser rechazadas parcialmente también pretende alegar responsabilidades adicionales no asociadas




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  con las Reclamaciones Principales de Litigios, tales como bases adicionales para pagos de salarios

  atrasados que no están incluidas en las Reclamaciones Principales de Litigios.

         25.     En consecuencia, las Reclamaciones que han de ser rechazadas parcialmente

  constituyen un duplicado parcial con respecto a las Reclamaciones Principales de Litigios. Si las

  Reclamaciones que han de ser rechazadas parcialmente no son rechazadas parcialmente, ello

  resultaría en que los correspondientes reclamantes obtuvieran potencialmente una recuperación

  duplicada no justificada en detrimento de otras partes interesadas en dichos Casos de Título III.

  Los titulares de las Reclamaciones que han de ser rechazadas parcialmente no se verán

  perjudicados por el hecho de que se rechacen parcialmente sus reclamaciones, puesto que las

  responsabilidades vinculadas con cada una de las Reclamaciones que han de ser rechazadas

  parcialmente se incluyen en las responsabilidades alegadas en la(s) Reclamación(es) Principal(es)

  de Litigios pertinente(s), según se establece en el Anexo A del presente documento. Además, los

  titulares de las Reclamaciones que han de ser rechazadas parcialmente tampoco se verán

  perjudicados en cuanto a los montos restantes supuestamente adeudados que no sean objeto de la

  presente objeción, ya que conservarán una Reclamación Restante contra los Deudores en relación

  con tales montos. Puesto que esta Tricentésima quincuagésima primera objeción global a las

  Reclamaciones que han de ser rechazadas parcialmente no constituye una objeción a las

  Reclamaciones Principales de Litigios, los Deudores se reservan el derecho a oponerse a las

  Reclamaciones Principales de Litigios sobre la base de cualesquiera otros motivos que fuere.

         26.     En apoyo de lo anterior, los Deudores invocan la Declaración de Jay Herriman en

  apoyo de la Tricentésima quincuagésima primera objeción global (no sustantiva) del Estado Libre

  Asociado de Puerto Rico a Reclamaciones Parcialmente Duplicadas por Litigios, de fecha 18 de

  junio de 2021, adjunta al presente como Anexo B.




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                                           NOTIFICACIÓN

         27.      De conformidad con los Procedimientos relativos a Objeciones Globales y la Orden

  de Notificación del Tribunal, los Deudores han notificado la presente Tricentésima quincuagésima

  primera objeción global a) a los acreedores individuales objeto de esta Tricentésima

  quincuagésima primera objeción global, b) al U.S. Trustee, y c) a la Lista maestra de notificaciones

  (según se define en los Procedimientos de administración de casos enmendados núm. 14 [ECF

  núm.    15894-1]),   disponibles    en   el   sitio   web   de   casos    de   los   Deudores,    en

  https://cases.primeclerk.com/puertorico. Una copia de la notificación relativa a esta Tricentésima

  quincuagésima primera objeción global se adjunta al presente como Anexo C. Las traducciones al

  español de la Tricentésima quincuagésima primera objeción global y de la totalidad de los anexos

  adjuntos al presente se están radicando con esta objeción y se trasladarán a las partes. Los Deudores

  sostienen que, dada la naturaleza del remedio solicitado, no es necesario enviar ninguna otra

  notificación.

                            AUSENCIA DE SOLICITUDES PREVIAS

         28.      No se ha radicado ninguna solicitud de remedio previa a la presente Tricentésima

  quincuagésima primera objeción global ni ante este Tribunal ni ante ningún otro órgano judicial.


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         POR LO QUE los Deudores solicitan respetuosamente que se dicte una orden,

esencialmente en la forma de la Orden Propuesta que se adjunta al presente como Anexo D, 1) que

conceda el remedio solicitado en el presente documento, y 2) que conceda a los Deudores

cualesquiera otros remedios que se consideren justos.


  Fecha: 18 de junio de 2021                               Respetuosamente sometida,
         San Juan (Puerto Rico)
                                                           [Firma en la versión en inglés]
                                                           Hermann D. Bauer
                                                           USDC núm. 215205
                                                           Carla García-Benítez
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                                                           Gabriel A. Miranda
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                                                           Fax: (787) 753-8944

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                                                           Martin J. Bienenstock (pro hac vice)
                                                           Brian S. Rosen (pro hac vice)
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                                                           Abogados de la Junta de Supervisión
                                                           y Administración Financiera para
                                                           Puerto Rico, como representante del
                                                           Estado Libre Asociado de Puerto
                                                           Rico, de la Autoridad de Carreteras
                                                           y Transportación de Puerto Rico y
                                                           del Sistema de Retiro de los
                                                           Empleados del Gobierno del Estado
                                                           Libre Asociado de Puerto Rico.




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